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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                            )
IN RE RULE 45 SUBPOENAS     )    No.
                                  ) 18-MC-356
TO FUTUREBRAND AND          )                          )
SIMON HILL                  )    Related Action:
                            )
                                 Merck & Co., Inc. et al. v. Merck KGaA
                            )
                            )    Civil Action No. 2:16-cv-266 ES-MAH (D.N.J.)
                            )




           HYPERMEDIA SOLUTIONS, LLC AND SIMON HILL’S
      MEMORANDUM OF LAW IN OPPOSITION TO MERCK & CO., INC.
       AND MERCK SHARP & DOHME CORP.’S MOTION TO COMPEL




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                                 PRELIMINARY STATEMENT

       The instant motion is an attempt to circumvent proper discovery channels, including the

Hague Convention, and force an unrelated third-party to produce documents that it does not

control. Plaintiffs subpoenaed the incorrect company, but instead of attempting to correct that

mistake, they have doubled down on arguments lacking factual support. HyperMedia Solutions,

LLC (“HMS”) and FBC (FutureBrand) Limited (“FBC”) both make use of the tradename

FutureBrand, but are distinct entities lacking shared access to files. Likewise, Simon Hill is an

employee of HMS only, and he personally lacks access to FBC documents.

                                  STATEMENT OF FACTS

        Movants Merck & Co., Inc. and Merck Sharp & Dohme Corp. (collectively the

“Movants”) served upon HMS a subpoena direct to FutureBrand Ltd. (Samii Decl. ¶ 3). The

subpoena seeks documents related to services FBC provided to one of its customers, Merck

KGaA (“KGaA”). (Id. ¶ 12). HMS did not perform any work for KGaA during the relevant

time period. (Id. ¶ 8).

       Though HMS and FBC operate under a common tradename and are both indirect

subsidiaries of The Interpublic Group of Companies, Inc. (“IGC”) that is where the connections

end. (Id. ¶ 7, 11). HMS is a limited liability company organized under the laws of the State of

New York, whereas FBC is a legally distinct limited company based in the United Kingdom and

organized under the laws of the United Kingdom. (Id. ¶ 5, 10). The two companies do not share

documents in the usual course of business, have access to each other’s documents, or need each

other’s documents. (Id. ¶ 17).

       The documents sought by Movants’ subpoena have at all times been in the possession of

FBC. Moreover, the documents are located in the United Kingdom. (Id. ¶ 13). HMS does not



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have the ability to access FBC’s documents upon demand. (Samii Decl. ¶ 15). Movants should

have subpoenaed FBC through the Hague Convention. Nonetheless, Movants to date have failed

to even attempt to serve FBC, and instead have filed this unnecessary motion.

                                         ARGUMENT

   I.      MOVANTS HAVE FAILED TO SATISFY THEIR BURDEN OF
           DEMONSTRATING THAT HMS AND MR. HILL CONTROL THE
           RELEVANT DOCUMENTS

        When properly served with a subpoena pursuant to Rule 45 of the Federal Rules of Civil

Procedure, “a non-party may be required to produce for discovery materials which are in the

non-party's possession, custody, or control. S.E.C. v. Credit Bancorp, Ltd., 194 F.R.D. 469, 471

(S.D.N.Y. 2000) (citing Fed.R.Civ.P. 45(a)(1)(C)). A witness has control over a document, for

the purposes of Rule 45, if the witness has the “practical ability to obtain the document. Tiffany

(NJ) LLC v. Qi Andrew, 276 F.R.D. 143, 147 (S.D.N.Y. 2011). The demanding party has the

burden of establishing control over the documents being sought. S.E.C. v. Credit Bancorp, Ltd.,

at 472; see also New York ex rel. Boardman v. Nat'l R.R. Passenger Corp., 233 F.R.D. 259, 268

(N.D.N.Y. 2006).

        Movants misstate the applicable standard by claiming that “when discovery is sought

from a corporation its business records are presumed to be within its control . . . .” (Movants’

Memorandum of Law, p.8). The instant case deals with legally distinct business entities, and the

party seeking to compel one company to produce documents from an affiliated company, like a

parent, subsidiary or sister company, bears the burden of establishing the local entities control

over the documents. Linde v. Arab Bank, PLC, 262 F.R.D. 136, 141 (E.D.N.Y. 2009).

        “Access” and “ability to obtain documents” may exist if “documents ordinarily flow

freely between” a parent and subsidiary. Hunter Douglas, Inc. v. Comfortex Corp., No. CIV. A.



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M8–85, 1999 WL 14007, at *3 (S.D.N.Y. Jan. 11, 1999). In considering whether a company has

the ability to obtain documents from non-party, courts look to the “existence of cooperative

agreements or contracts between the responding party and non-party, the extent to which the

non-party has a stake in the outcome of the litigation, and the non-party’s past history of

cooperating with document requests.” Alexander Interactive, Inc. v. Adorama, Inc., 12 CIV.

6608 PKC JCF, 2014 WL 61472, at *3 (S.D.N.Y. Jan. 6, 2014). Even when the two entities are

affiliated, the court should consider whether the entities operated as one, exhibited a history of

access to each other’s documents in the ordinary course of business, and whether one served as

the agent for the other. Id. At *4.

       Here, Movants are seeking documents related to services FBC provided to KGaA. HMS

did not provide services to KGaA during the relevant period of time. (Samii Decl. ¶ 8). Only

FBC provided services to KGaA, and only FBC maintains and controls those documents, which

are the subject of Movants’ subpoena. (Id. ¶ 12-13). Documents do not ordinarily flow between

HMS and FBC, and the two entities do not have access to one another’s documents in the normal

course of business. (Id. ¶ 17). FBC and HMS are not closely related. They are both indirect

subsidiaries of IPG. Without access to FBC’s documents, HMS has no control of the documents

sought by the subpoena, and cannot be compelled to produce those documents.

       In support of its motion, Movants rely upon Tiffany, 276 F.R.D. 143 and, Ssangyong

Corp. v. Vida Shoes Int'l, Inc., 03 CIV. 5014 (KMW) (DFE), 2004 WL 1125659, at *2 (S.D.N.Y.

May 20, 2004). Both of those cases are distinguishable, however, because they did not deal with

sister corporations. Rather, in those cases, local bank branches of a single corporation were

compelled to produce documents in the physical possession of other branches of the same

corporation. See Tiffany, 276 F.R.D. 143; see also Ssangyong Corp., 2004 WL 1125659, at *1.



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In both cases, the branches were not separately incorporated and were part of the same corporate

entity. Tiffany, 276 F.R.D. at 148; Ssangyong Corp., 2004 WL 1125659, at *2.

       The Hunter case, relied on by Movants, is also distinguishable. In that case, the local

subsidiary and its corporate parent in Canada shared an ordinary free flow of documents between

one another. Hunter, 2009 WL 14007 at *3. Also, the local United States subsidiary produced

much of the revenues that were part of the underlying dispute. See id. In this case there is no

free flow of documents between HMS and FBC.

       Movants also rely on Cooper, which noted that it would be “inconceivable” for the

defendant to not have access to documents and the ability to obtain them for its “usual business.”

Cooper Indus., Inc. v. British Aerospace, Inc., 102 F.R.D. 918, 919–20 (S.D.N.Y. 1984). This

case too is distinguishable because there are no documents in FBC’s direct possession that HMS

would need to access even occasionally, let alone unilaterally or in the course of “usual

business.” (Id. ¶ 17). HMS has no need to access KGaA documents and has never had access to

those documents.

       The court in Credit Bancorp recognized that there are few cases directly addressing the

instant situation where one sister corporation is asked to produce documents within the

possession of a sister corporation abroad, and it determined that control in those circumstances

requires access. S.E.C. v. Credit Bancorp, Ltd., at 473. In that case, two sister corporations were

both affiliated with Credit Suisse, and the party responding to the subpoena offered little

information regarding the flow of information between itself and Credit Suisse. Id. Though the

movant in that case argued that certain security regulations obligated the company to at least

have access to the subject documents, the court disagreed.        The company served with the

subpoena maintained an account that held securities related to the underlying transaction, yet due



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to the nature of the account, it was not obligated to know which of those shares were related to

its sister corporation. Id. at 474. The company represented that it did not have to the subject

documents in the usual course of business, and the court accordingly determined that the movant

had failed to satisfy its burden with respect to control. Id. at 475.

       The case here is similar to Credit Bancorp insofar as HMS does not have access to any of

the customer accounts or documents of FBC. The instant case presents an even stronger case for

denying the motion to compel because unlike in Credit Bancorp, where the subpoenaed company

participated in some transactions that may have been relative to the underlying litigation, HMS

simply had no relation, interaction, or dealings relative to KGaA during the relevant time period.

       The Eastern District of New York has also made clear that access in the usual course of

business is the essential inquiry. Linde, 262 F.R.D. at 142. In that case, sworn statements

represented that the subsidiary did not have access to its parent’s documents in the regular course

of business, and the companies did not share information concerning their customers or

transactions. Id. at 142. In Linde, the parent’s shareholders had made a commitment to make its

available the documents of its affiliates and subsidiaries, but the court found that the inverse was

not necessarily true. Id. The court determined that the subsidiary lacked access to its parent

company’s documents, and the motion to compel was denied. Id. In the instant case, HMS has

provided a sworn declaration that it cannot access FBC documents in the ordinary course and

FBC does not have any commitment to make available or access the documents of HMS. As

such, this presents an even stronger case than Linde for denying motion to compel.

       Finally, it is important to note that Mr. Hill is not an employee of FBC. He is only an

employee of HMS, and therefore the Movants’ reliance on the case of In re Flag Telecom




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Holdings, Ltd. Sec. Litig., 236 F.R.D. 177, 179 (S.D.N.Y. 2006), which deals with a direct

employee having access to his employer’s documents, is misplaced.

       II.     MOVANTS HAVE FAILED TO SHOW GOOD CAUSE TO BURDEN A
               THIRD-PARTY WITH THE EXPENSE OF PRODUCTION

       Even assuming arguendo that the Court finds that HMS has control over the documents

in question, this Court should deny Movant’s motion to compel because they have failed to

demonstrate good cause to burden a third-party with the cost of production. As an initial matter,

Mr. Hill has indicated that he is willing to appear for a deposition in response to the subpoena.

Movants’ never responded to Mr. Hill’s offer to appear for a deposition. Instead, they simply

filed this motion without bothering to inquire what information he has or whether he actually has

access to the documents in question. Moreover, Movants’ have failed to explain how the

documents are relevant to their case, whether they requested the documents in question from

KGaA, or whether they were able in obtain any of the relevant documents from KGaA. Under

Rule 45, the “necessity for production is sharply reduced where an available alternative for

obtaining the desired evidence has not been explored.” Carl Zeiss Stiftung v. V. E. B. Carl Zeiss,

Jena, 40 F.R.D. 318, 328 (D.D.C 1966), aff'd sub nom. V.E.B. Carl Zeiss, Jena v. Clark, 384

F.2d 979 (D.C. Cir. 1967). Movants have also failed to disclose that the fact discovery period in

the underlying action closed several weeks ago. (See Civil Action No. 2:16-cv-266 ES-MAH

(D.N.J.) (Docket Entry No. 102). In fact, the discovery period closed on the same date that

Movants’ served this motion on HMS and Mr. Hill, August 6, 2018.         Movants’ have failed to

demonstrate good cause for continuing to seek fact discovery outside of the discovery period set

by the District of New Jersey.




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                                        CONCLUSION

       For the reasons stated herein, HMS and Mr. Hill respectfully request the Court to deny

Movants’ motion to compel in its entirety.

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